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                            EXHIBIT 7

                                to

             PAUL D. BRACHMAN DECLARATION
            IN SUPPORT OF DEFENDANT'S TRIAL
                          BRIEF
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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         PANAMA CITY DIVISION

RESTORE ROBOTICS, LLC, et al.,

       Plaintiffs,

v.                                                 Case No. 5:19cv55-TKW-MJF

INTUITIVE SURGICAL, INC.,

      Defendant.
_________________________________/

                           FINAL PRETRIAL ORDER

      This case came before the Court for the final pretrial conference on January

13, 2023. Based on the discussions at the pretrial conference, it is ORDERED that:

      1.    Trial Schedule.

            a.       The jury trial will commence on Monday, February 6, 2023, as

      previously ordered. Four weeks (19 trial days) have been reserved for trial,

      including jury selection. The parties are expected to use only so much of that

      time as they reasonably need to try this case.

            b.       A conference will be held at 8:30 a.m. on the first day of trial

      with attorneys and parties present. Jury selection will begin as soon thereafter

      as the venire is ready. Opening statements will immediately follow jury

      selection, so depending on the pace of the day, Plaintiffs should be prepared

      to call their first witness immediately after opening statements.
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            c.     On the second and subsequent days, the Court will meet with the

      attorneys and parties at 8:00 a.m., and trial will start with the jury at 8:30 a.m.

            d.     Each day, there will be a 15-minute break in the morning and the

      afternoon and, depending on the pace of the day, a 60 to 90 minute lunch.

            e.     The Court plans to excuse the jury each day at or around 5:00

      p.m., but the attorneys and parties should plan to be in court each day until at

      least 5:30 p.m. to address case management issues.

      2.    Jury Selection.

            a.     Jury selection will be conducted as described at the pretrial

      conference, with the Court conducting voir dire and the parties selecting 9

      jurors. There will be no alternates. No back-striking will be allowed.

            b.     Each side will have 3 preemptory challenges.

      3.    Opening Statements / Closing Arguments. Each side shall have 60

minutes for opening statements and 90 minutes for closing argument, but counsel

are expected to use only so much of that time as they need. Each party may reserve

a portion of its closing argument time for rebuttal argument on their affirmative

claims.

      4.    Rule of Sequestration. The Rule has been invoked. Each party is

responsible for advising its witnesses of their obligations under the Rule. Expert




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witnesses are permitted inside the courtroom when the opposing like-expert is

testifying.

        5.    Pretrial Stipulation.   The pretrial stipulation is incorporated by

reference into this Order and the pleadings are merged into it. See Rockwell Int'l

Corp. v. United States, 549 U.S. 457, 474 (2007); State Treasurer of State of

Michigan v. Barry, 168 F.3d 8, 9-10 (11th Cir. 1999). The pretrial stipulation will

control the course of the trial and it and this Order will only be modified with the

agreement of the parties or to prevent a manifest injustice. See Fed. R. Civ. P. 16(e).

        6.    Court Reporter. Any special request for court reporter services, such

as a daily copy, must be submitted to the court reporter, Julie Wycoff, as soon as

possible. Her contact information is Julie_Wycoff@flnd.uscourts.gov and 850-470-

8196.

        7.    Evidence Presentation System. Any additional questions about the

Court’s evidence presentation system or other information technology matters

should be directed to the Court’s courtroom deputy clerk, Paula Cawby, at 850-470-

8129 or paula_cawby@flnd.uscourts.gov.

        8.    Rulings on pending motions.

              a.    The deferred portion of Defendant’s motion in limine No. 6

        regarding other litigation and settlements (Doc. 209) is GRANTED, and




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 Plaintiffs may not present any evidence or argument concerning competitor

 or customer lawsuits against Defendant.

       b.     Plaintiffs’ motion to exclude Heather Rosecrans’ supplemental

 opinions (Doc. 217) is DENIED. However, as explained at the pretrial

 conference, the Court reiterates that Ms. Rosecrans may not provide an

 ultimate opinion as to whether Plaintiff’s “repair” services required 510(k)

 clearance or that the FDA has definitively ruled on that issue.

 9.    Other Matters.

       a.     The parties shall continue to confer about the need for the

 proposed third amended complaint and/or an amendment to the pretrial

 stipulation to reflect the changes to the plaintiffs and the elimination of claims

 that were discussed at the pretrial conference and, if necessary, they shall file

 an appropriate motion or stipulation.

       b.     The parties shall continue to confer about the procedure and

 timing of in-trial deposition designations with the additional guidance

 provided at the pretrial conference.        The parties need not submit the

 procedures to the Court for approval unless they are unable to reach

 agreement.




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       c.       The parties shall provide each other advance notice of the

 sequencing of witnesses and exhibits in accordance with the discussions at the

 pretrial conference.

       d.       The parties shall prepare a stipulation incorporating the pertinent

 portions of the Rebotix settlement agreement or a condensed version of the

 agreement without the blacked-out sections to be presented to the jury at trial.

       e.       The parties are expected to use the evidence presentation system

 to show exhibits to witnesses and the jury, but they shall submit paper copies

 of the exhibits to the Clerk as they are received into evidence. The jury will

 be provided the paper copies for its deliberations.

       f.       Rule 50 motions are expected to be made orally.

       g.       Speaking objections are prohibited.      Bench conferences are

 discouraged, are not granted as a matter of right, and should be requested only

 if necessary to avoid substantial prejudice.

       h.       There will be no re-cross examination as a matter of course.

       i.       The parties and attorneys may bring bottled drinks into the

 courtroom.

       j.       The attorneys may bring cell phones and other electronic devices

 into the courtroom so long as the devices are silenced and do not become a

 distraction.


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             k.     The parties and attorneys should familiarize themselves with the

      requirements of the Addendum to the Local Rules of the Northern District of

      Florida on Customary and Traditional Conduct and Decorum in the United

      States District Court, which the Court expects to be observed during the trial.

             l.     Questions concerning the conduct of trial may be directed to the

      Court’s     law     clerk,    Jalen       LaRubbio,    at    850-470-8106         or

      jalen_larubbio@flnd.uscourts.gov.

      10.    Settlement. The parties are strongly encouraged to continue their

efforts to resolve the case, and they shall notify the Court as soon as possible

(preferably before January 27, 2023) if they are able to resolve the case. The parties

shall contact the magistrate judge’s office immediately if they think they might want

his assistance in their settlement discussions so they can get time on his calendar in

advance of trial. Failure to notify the Court of a settlement by noon on Friday,

February 3, 2023, will result in the parties bearing the cost of calling in the jury.

      DONE and ORDERED this 17th day of January, 2023.




                                        __________________________________
                                        T. KENT WETHERELL, II
                                        UNITED STATES DISTRICT JUDGE




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